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13
14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16                              WESTERN DIVISION

17
18 David Carlton,                         Case No.: 2:15-cv-07124
19                     Plaintiff,         COMPLAINT FOR DAMAGES
20
          vs.                             FOR VIOLATIONS OF:
21
                                           1. THE TELEPHONE CONSUMER
22 Mercantile Adjustment Bureau, LLC,      PROTECTION ACT;
                                           2. THE FAIR DEBT COLLECTION
23
                       Defendant.          PRACTICES ACT; AND
24                                         3. THE ROSENTHAL FAIR DEBT
25                                         COLLECTION PRACTICES ACT

26                                        JURY TRIAL DEMANDED
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28
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 1         Plaintiff, David Carlton (hereafter “Plaintiff”), by undersigned counsel, brings
 2
     the following complaint against Mercantile Adjustment Bureau, LLC (hereafter
 3
 4 “Defendant”) and alleges as follows:
 5                                       JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the
 7
 8 Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), repeated
 9 violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
10
   (“FDCPA”), and repeated violations of the Rosenthal Fair Debt Collection Practices
11
12 Act, Cal. Civ. Code § 1788, et seq. (“Rosenthal Act”).
13         2.     Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), 15 U.S.C. §
14
     1692k(d), Cal. Civ. Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
15
16         3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
17
     the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
18
19 where Defendant transacts business in this district.
20                                           PARTIES
21
           4.     Plaintiff is an adult individual residing in San Pedro, California, and is a
22
23 “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
24         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a
25
     “debtor” as defined by Cal. Civ. Code § 1788.2(h).
26
27
28


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                                                               COMPLAINT FOR DAMAGES
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 1         6.     Defendant is a business entity located in Williamsville, New York, and is
 2
     a “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
 3
 4 1788.2(g).
 5         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 6
     business the principle purpose of which is the collection of debts and/or regularly
 7
 8 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 9
     “debt collector” as defined by 15 U.S.C.§ 1692a(6).
10
11         8.     Defendant, in the ordinary course of business, regularly, on behalf of

12 itself or others, engages in the collection of consumer debts, and is a “debt collector”
13
     as defined by Cal. Civ. Code § 1788.2(c).
14
15
                    ALLEGATIONS APPLICABLE TO ALL COUNTS
16
17         9.     Upon information and belief, a financial obligation was allegedly

18 incurred by a person who is not a party to this lawsuit (hereafter “Debtor”).
19
           10.    Plaintiff is not the Debtor, has no location information regarding the
20
21 Debtor, and has no responsibility for repayment of Debtor’s debt.
22         11.    Upon information and belief, Debtor’s alleged obligation arises from a
23
     transaction in which property, services or money was acquired on credit primarily for
24
25 personal, family or household purposes, is a “debt” as defined by 15 U.S.C. §
26
     1692a(5), and is a “consumer debt” as defined by Cal. Civ. Code § 1788.2(f).
27
28


                                                 3
                                                             COMPLAINT FOR DAMAGES
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 1         12.   At all times mentioned herein where Defendant communicated with any
 2
     person via telephone, such communication was done via Defendant’s agent,
 3
 4 representative or employee.
 5         13.   At all times mentioned herein, Plaintiff utilized a cellular telephone
 6
     service and was assigned the following telephone number: 281-xxx-7777 (hereafter
 7
 8 “Number”).
 9
           14.   Defendant placed calls to Plaintiff’s Number in an attempt to collect a
10
11 debt.
12         15.   The aforementioned calls were placed using an automatic telephone
13
     dialing system (“ATDS”) and/or by using an artificial or prerecorded voice
14
15 (“Robocalls”).
16         16.   When Plaintiff answered Defendant’s calls, he heard a prerecorded
17
     message addressed to the Debtor.
18
19         17.   Plaintiff has never provided his Number to Defendant and has never
20
     provided his consent to be contacted using an ATDS and/or Robocalls.
21
           18.   On several occasions, Plaintiff attempted to reach a live agent in order to
22
23 advise Defendant of its error, but was never able to connect to a live agent.
24
           19.   Defendant called Plaintiff at an excessive and harassing rate, placing
25
26 daily calls to Plaintiff’s Number.
27         20.   Plaintiff often received calls from Defendant prior to 8:00 am.
28


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                                                            COMPLAINT FOR DAMAGES
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 1         21.    Barraged with repeated telephone calls, Plaintiff retained services of legal
 2
     counsel.
 3
 4         22.    Plaintiff’s counsel contacted Defendant on August 11, 2015, and once
 5 again demanded that all calls to Plaintiff’s telephone number cease.
 6
         23. Despite having been informed of attorney representation, Defendant
 7
 8 continued harassing Plaintiff with repeated automated calls.
 9
10                                          COUNT I
11    VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT, 47
12                         U.S.C. § 227, et seq.
13         24.    Plaintiff incorporates by reference all of the above paragraphs of this
14
     complaint as though fully stated herein.
15
16         25.    The TCPA prohibits Defendant from using, other than for emergency
17
     purposes, an ATDS and/or Robocalls when calling Plaintiff’s Number absent
18
     Plaintiff’s prior express consent to do so. See 47 U.S.C. § 227(b)(1).
19
20         26.    Defendant’s telephone system has the earmark of using an ATDS and/or
21
     using Robocalls in that Plaintiff, upon answering calls from Defendant, heard a
22
23 prerecorded message addressed to the Debtor.
24         27.    Defendant called Plaintiff’s Number using an ATDS and/or Robocalls
25
     without Plaintiff’s consent in that Defendant either never had Plaintiff’s prior express
26
27 consent to do so or such consent was effectively revoked when Plaintiff requested that
28 Defendant cease all further calls.


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                                                             COMPLAINT FOR DAMAGES
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 1         28.    Defendant continued to willfully call Plaintiff’s Number using an ATDS
 2
     and/or Robocalls knowing that it lacked the requisite consent to do so in violation of
 3
 4 the TCPA.
 5         29.    Plaintiff was harmed and suffered damages as a result of Defendant’s
 6
     actions.
 7
 8         30.    The TCPA creates a private right of action against persons who violate
 9
     the Act. See 47 U.S.C. § 227(b)(3).
10
11         31.    As a result of each call made in violation of the TCPA, Plaintiff is

12 entitled to an award of $500.00 in statutory damages.
13
           32.    As a result of each call made knowingly and/or willingly in violation of
14
15 the TCPA, Plaintiff may be entitled to an award of treble damages.
16
17                                         COUNT II
18     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
19                         U.S.C. § 1692, et seq.

20         33.    Plaintiff incorporates by reference all of the above paragraphs of this
21
     complaint as though fully stated herein.
22
23         34.    The FDCPA was passed in order to protect consumers from the use of

24 abusive, deceptive and unfair debt collection practices and in order to eliminate such
25
   practices.
26
27         35.    Defendant contacted Plaintiff in an attempt to collect a debt and engaged
28 in “communications” as defined by 15 U.S.C. § 1692a(2).


                                                6
                                                             COMPLAINT FOR DAMAGES
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 1         36.    Defendant communicated with Plaintiff at a time or place known to be
 2
     inconvenient to the Plaintiff, in violation of 15 U.S.C. § 1692c(a)(1).
 3
 4         37.    Defendant communicated with Plaintiff knowing that Plaintiff was
 5 represented by an attorney, in violation of 15 U.S.C. § 1692c(a)(2).
 6
         38. Defendant engaged in conduct, the natural consequence of which was to
 7
 8 harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
 9
     violation of 15 U.S.C. § 1692d.
10
11         39.    Defendant caused Plaintiff’s phone to ring repeatedly or continuously,

12 with the intent to annoy, abuse and harass Plaintiff, in violation of 15 U.S.C. §
13
     1692d(5).
14
15         40.    The foregoing acts and/or omissions of Defendant constitute multiple
16 violations of the FDCPA, including every one of the above-cited provisions.
17
          41. Plaintiff was harmed and is entitled to damages as a result of Defendant’s
18
19 violations.
20
21                                         COUNT III
22         VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
23                PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
24         42.    Plaintiff incorporates by reference all of the above paragraphs of this
25
     complaint as though fully stated herein.
26
27         43.    The Rosenthal Act was passed to prohibit debt collectors from engaging
28 in unfair and deceptive acts and practices in the collection of consumer debts.


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                                                             COMPLAINT FOR DAMAGES
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 1         44.    Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
 2
     to annoy Plaintiff, in violation of Cal. Civ. Code § 1788.11(d).
 3
 4         45.    Defendant communicated with Plaintiff with such frequency as to be
 5 unreasonable, constituting harassment, in violation of Cal. Civ. Code § 1788.11(e).
 6
         46. Defendant failed to comply with the provisions of 15 U.S.C. § 1692, et
 7
 8 seq., in violation of Cal. Civ. Code § 1788.17.
 9
           47.    Plaintiff was harmed and is entitled to damages as a result of Defendant’s
10
11 violations.
12
                                   PRAYER FOR RELIEF
13
14         WHEREFORE, Plaintiff prays for judgment against Defendant for:
15                A. Statutory damages of $500.00 for each call determined to be in violation
16
                     of the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
17
18                B. Treble damages for each violation determined to be willful and/or
19                   knowing under the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
20
                  C. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
21
22                D. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
23
                  E. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
24
25                F. Statutory damages of $1,000.00 for knowingly and willfully committing

26                   violations pursuant to Cal. Civ. Code § 1788.30(b);
27
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                                                             COMPLAINT FOR DAMAGES
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 1             G. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
 2
                  § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
 3
 4             H. Punitive damages; and
 5             I. Such other and further relief as may be just and proper.
 6
 7                TRIAL BY JURY DEMANDED ON ALL COUNTS
 8
 9
10 DATED: September 9, 2015                   TRINETTE G. KENT
11
                                             By: /s/ Trinette G. Kent
12                                           Trinette G. Kent, Esq.
13                                           Lemberg Law, LLC
                                             Attorney for Plaintiff, David Carlton
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                                                          COMPLAINT FOR DAMAGES
